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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                                                              8:13CR287
                     Plaintiff,

      vs.
                                                                ORDER
ANDRES BARRAZA, a/k/a Guacho,

                     Defendant.


      This matter is before the Court on the United States= Motion to Dismiss Forfeiture

Allegation (Filing No. 106) against Defendant, Andres Barraza. The Court has reviewed

the record in this case and concludes the United States= Motion should be granted.

Accordingly,

      IT IS ORDERED:

      1.       The United States= Motion to Dismiss Forfeiture Allegation (Filing No. 106)

               against Andres Barraza is granted; and

      2.       The Forfeiture Allegation of the Indictment (Filing No. 22) against Andres

               Barraza is dismissed.



                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 Chief United States District Judge
